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                      IN THE UNITED STATES DISTRICT COURT
                                                                                        JUL 3 0 2019
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division
                                                                                                            zJ
                                                                                          U.S. DISTRICT COURT
                                                                                         RICHMOND. VA
 UNITED STATES OF AMERICA,

                                                      Criminal Action No. 3:11CR63-HEH


 WARREN HAROLD BROWN,

        Petitioner.                            )

                                MEMORANDUM OPINION
            (Granting in Part and Denying in Part 28 U.S.C. § 2255 Motion)

        Warren Harold Brown, a federal inmate proceeding with counsel, filed this 28

 U.S.C. § 2255 Motion ("§ 2255 Motion," ECF No. 221) arguing that his firearm

 convictions are invalid nndtx Johnson v. United States, 135 S. Ct. 2551 (2015).' The

 Government initially filed a Motion to Dismiss the § 2255 Motion contending that it is

 barred by the relevant statute of limitations. (ECF No. 219.) Thereafter, the Court

 ordered further briefing. In its most recent response, the Government concedes that in

 light of UnitedStates v. Davis, 139 S. Ct. 2319, 2336 (2019) and UnitedStates v. Simms,

 914 F.3d 229 (4th Cir. 2019), Brown's firearm conviction in Count Two should be

 vacated. Nevertheless, the Government maintains that Brown's challenge to his firearm

 conviction in Count Four lacks merit and should be dismissed. Brown agrees that Count

 Two should be vacated, but has filed a Motion to Stay "pending decisions from the

 Fourth Circuit Court of Appeals in UnitedStates v. AH, 4th Cir. No. 15^433 and United



        ' For ease of reference, the Court refers to the offense of interference with commerce by
 robbery, in violation of 18 U.S.C. § 1951(a) as "Hobbs Act robbery."
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